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                                                                                 E-FILED
                                                Thursday, 09 December, 2010 10:28:26 AM
                                                             Clerk, U.S. District Court, ILCD
                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                        SPRINGFIELD DIVISION

UNITED STATES OF AMERICA                 )
and the STATES of CALIFORNIA,            )
ILLINOIS, NORTH CAROLINA,                )
AND OHIO,                                )
                                         )
                  Plaintiffs,            )
                                         )
           v.                            )      No. 09-CV-3073
                                         )
DISH NETWORK L.L.C.,                     )
                                         )
                  Defendant.             )

                                  OPINION

BYRON G. CUDMORE, U.S. MAGISTRATE JUDGE:

     This matter comes before the Court on Plaintiffs United States of

America (Government) and the States of California, Illinois, North Carolina,

and Ohio’s (State Plaintiffs) First Motion to Compel Production of

Documents and Answers to Interrogatories (d/e 47) (Motion). For the

reasons set forth below, the Motion is allowed in part and denied in part.

                                BACKGROUND

     The Plaintiffs allege that Dish Network, L.L.C., directly and through its

authorized dealers and third party telemarketers, engaged in telemarketing

that violated the Telemarketing Sales Rule (TSR), the Telephone

Consumer Protection Act (TCPA), and relevant state consumer protection


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statutes in each of the Plaintiff States. Amended Complaint (d/e 5)

(Complaint) ¶¶ 4-7; 16 C.F.R. Part 310; 47 U.S.C. § 227(f)(1); California

Business & Professions Code §§ 17200 and 17592; 815 ILCS 505/7 & 815

ILCS 305/30(d); N.C. Gen. Stat. § 75-105; Ohio Rev. Code § 1345.01 et

seq. A violation of the TSR is considered an unfair or deceptive practice in

or affecting commerce, in violation of § 5(a) of the Federal Trade

Commission Act (FTC Act). 15 U.S.C. §§ 45(a) & 57a(d)(3); 15 U.S.C.

§ 6102(c). The Government seeks an injunction and ancillary equitable

relief, as well as civil penalties, for violation of the TSR and the FTC Act.

Complaint ¶ 4, 21. The State Plaintiffs seek injunctions and statutory treble

damages for willful violations under the TCPA and additional remedies

under the applicable State statutes. Complaint ¶¶ 5-8.

      Since October 17, 2003, the TSR and rules promulgated by the

Federal Communications Commission (FCC) under the TCPA have

prohibited sellers and telemarketers from calling consumers’ telephone

numbers registered on the National Do Not Call Registry and State Do Not

Call Registries. Complaint ¶¶ 16, 25. In addition, the TSR prohibits sellers

and telemarketers from calling consumers and abandoning the call before

a live sales person speaks to a consumer who answers the phone (referred

to as “abandoning” a call). Complaint ¶¶ 17-19. The TCPA, and the FCC

regulations promulgated thereunder, also prohibit sellers, and those acting

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on their behalf, from calling consumers who have instructed the seller or

telemarketer not to call them again, and from using automatic calling

systems that use pre-recorded sales pitches rather than a live sales person

to speak with the consumer. Complaint ¶¶ 25-28.

     The Plaintiffs allege that Dish sells satellite television programming

and related goods and services to consumers directly and through

authorized dealers and third party telemarketers. The Plaintiffs allege:

     36.   Since on or about October 17, 2003, DISH Network,
           directly and through one or more authorized dealers
           acting on its behalf, has initiated outbound telephone calls
           to numbers on the National Do Not Call Registry.

     37.   Defendant DISH Network entered into oral or written
           contracts with, among others, Vision Quest, a Michigan
           company, New Edge Satellite, also a Michigan company,
           Planet Earth Satellite, an Arizona company, Dish TV Now,
           a North Carolina company, and Star Satellite, a Utah
           company (the “Marketing Dealers”).

Complaint ¶¶ 36-37.

     The Government alleges that Dish violated the TSR by calling

consumers who are on State or National Do Not Call Registries and by

calling consumers and then abandoning the calls without speaking to the

consumers. Complaint ¶¶ 63 (Count I), 64 (Count II). The Government

also alleges that Dish caused Marketing Dealers to violate the TSR.

Complaint ¶ 58, 63, 64. The Government alleges that Dish provided

substantial assistance to Star Satellite and/or Dish TV Now when Dish

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knew or consciously avoided knowing that Star Satellite and/or Dish TV

Now were violating the TSR. Complaint ¶ 65 (Count III).

      The District Court previously addressed the meaning of “cause”

under the TSR. The Federal Trade Commission (FTC) promulgated the

TSR. This Court must defer to the FTC’s interpretation of the meaning of

causation in the TSR. Opinion dated November 2, 2009 (d/e 20), at 9-15;

Opinion dated February 3, 2010 (d/e 32), at 4-8; see Joseph v. Holder, 579

F.3d 827, 832 (7th Cir. 2009); Clancy v. Office of Foreign Assets Control of

United States Dept. of Treasury, 559 F.3d 595, 606 (7th Cir. 2009); Sierra

Club v. Franklin County Power of Illinois, LLC, 546 F.3d 918, 931 (7th Cir.

2008). Under the FTC interpretation of the TSR, Dish “‘causes’ the

telemarketing activity of a telemarketer by retaining the telemarketer

and authorizing the telemarketer to market the seller’s products and

services. . . . [T]he seller is liable for the telemarketer’s violations of the

TSR unless safe harbor provisions apply.” Opinion dated November 2,

2009, at 14.

      The State Plaintiffs allege that Dish, directly or through third parties

acting on its behalf, violated the TCPA, and FCC regulations promulgated

thereunder, by calling consumers in the Plaintiff States who were on the

National Do Not Call Registry and by using prerecorded sales pitches in




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calls. Complaint ¶¶ 68 (Count IV) and 72 (Count V). The State Plaintiffs

allege the violations were willful. Complaint ¶¶ 69, 73.

      The District Court determined that third parties, such as dealers or

telemarketers, acted on behalf of Dish if the dealers or telemarketers

“acted as Dish Network’s representatives, or for the benefit of Dish

Network, when they conducted the alleged illegal telephone solicitations.”

Opinion entered November 2, 2009, at 24.

      This Court entered the Scheduling Order (d/e 34) on March 15, 2010.

On May 5, 2010, the Plaintiffs served Defendant Dish Network, LLC (Dish)

with the Plaintiffs’ First Set of Interrogatories (Interrogatories) and the

Plaintiffs’ Second Request for Production Documents (RFP). Motion,

Exhibits 1 and 2. Dish responded on July 19, 2010. Dish objected to parts

of the Interrogatories and RFP, provided some answers to some of the

Interrogatories, but produced no documents at that time. Counsel for the

parties contacted each other regarding Dish’s response. This Court

determined at a telephonic hearing that the parties met the obligation to

meet and confer regarding their dispute over Dish’s response. Minute

Entry entered July 23, 2010; see Fed. R. Civ. P. 37(a)(1). The Plaintiffs

then filed this Motion on July 30, 2010.

      Dish subsequently produced documents on August 9, 2010, and

August 16, 2010. The subsequent production by Dish did not resolve all of

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the issues raised by the Motion. The Plaintiffs still ask this Court to

overrule Dish’s objections and compel Dish to make a more complete

response to the Interrogatories and a more complete production of

documents in response to the RFP.

                                  ANALYSIS

      Federal Rule of Civil Procedure 26(b)(1) allows parties to obtain

discovery regarding any matter, not privileged, which is relevant to the

claim or defense of any party. Relevant information need not be

admissible at trial if the discovery appears to be reasonably calculated to

lead to the discovery of admissible evidence. Federal Rule of Civil

Procedure 33 allows parties to serve interrogatories inquiring into any

matter within the scope of Rule 26(b). Fed. R. Civ. P. 33(a). Similarly,

Rule 34 allows a party to serve requests for the production of documents

that are within the scope of Rule 26. Fed. R. Civ. P. 34(a). A party may

seek an order compelling disclosure when an opposing party fails to

respond to discovery requests or has provided evasive or incomplete

responses. Fed. R. Civ. P. 37(a)(3)(B)(iii), (iv) & (a)(4). The Court has

broad discretion when reviewing a discovery dispute and “should

independently determine the proper course of discovery based upon the

arguments of the parties.” Gile v. United Airlines, Inc., 95 F.3d 492, 496




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(7th Cir.1996). With these principles in mind, the Court turns its attention to

the contested discovery requests.

      The Plaintiffs raise fifteen points in the Motion. The Court will

address them in the order raised.

1.    Objection Based on Statute of Limitations

      The Interrogatories and the Request for Production (hereinafter RFP)

generally sought information and documents covering the period from

October 1, 2003, to the present. Some of the Interrogatories sought

information from 2003 to the present. Dish objected on the grounds that

the Interrogatories and RFP should be limited to the applicable period of

limitations.1 The Court has carefully considered the matter and overrules

the objection. Information regarding practices before the applicable period

of limitations may be relevant to issues such as intent and knowledge. See

United States v. International Ass’n of Bridge, Structural and Ornamental

Iron Workers, Local No. 1,

438 F.2d 679, 683 (7th Cir. 1971).

      Dish argues that intent is not an issue in this case. The Court

disagrees. Several claims raise issues of knowledge or intent. The

Government is seeking civil penalties under FTC Act § 5(m). Complaint, at



      1
       The parties disagree on the applicable statute of limitations. This Court does not
need to reach this issue to resolve the Motion.

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24 Prayer for Relief ¶ 2. To recover civil penalties, the United States must

prove “actual knowledge or knowledge fairly implied on the basis of

objective circumstances that such act is unfair or deceptive and is

prohibited by such rule.” 15 U.S.C. § 45(m)(1)(A). The Government

alleges that Dish provided substantial assistance to Star Satellite and/or

Dish TV Now when Dish knew or consciously avoided knowing that Star

Satellite and/or Dish TV Now was violating the TSR. Complaint ¶ 65.

Finally, the State Plaintiffs are seeking treble damages for knowing

violations of the TCPA. Complaint, at 24 Prayer for Relief ¶ 4. Each of

these claims puts at issue Dish’s knowledge or intent. Evidence of events

that occurred before the applicable limitations period would be relevant or

is reasonably calculated to lead to admissible evidence that may be

relevant to these issues. The objection is overruled. Dish is directed to

answer fully for the time period requested.

2.   Response Limited to Five Dealers

     Several Interrogatories and the RFP sought information and

documents related to all authorized dealers and telemarketers that

marketed Dish products and services. Dish objected to providing

information or documents regarding dealers other than the five authorized




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dealers listed in paragraph 37 of the Complaint, quoted above.2 Dish

argued that the Complaint is limited to those five dealers and so

information regarding other dealers would not be relevant. The Court again

disagrees. Counts IV and V allege liability for the actions of all third parties

that acted on behalf of Dish. The claims in those Counts, at least, are not

limited to the five dealers listed in paragraph 37. The objection, therefore,

is overruled. Dish is directed to provide responses and documents that

relate to all authorized dealers and telemarketers.

3.    Failure to Produce Documents

      The Plaintiffs complain that Dish has not produced any documents.

This issue is not moot since Dish has produced documents.

4.    Make Available Paper Documents

      The Plaintiffs complain that Dish responded to the RFP by stating

that it would make available for inspection and copying consumer

complaints kept in paper form instead of providing the documents in

electronic format. Rule 34 authorizes a party to respond to a request to



      2
        The parties dispute whether the claims in Counts I and II are limited to Dish and
the five dealers or whether the claims cover additional dealers. Paragraph 37 defines
the term “Marketing Dealers.” Dish takes the position that the five dealers listed are the
only Marketing Dealers. The Government claims that the phrase “among others” in
paragraph 37 means that the term “Marketing Dealers” included other dealers beyond
the five listed. Reply in Support of Plaintiffs’ First Motion to Compel Production of
Documents and Answers to Interrogatories (d/e 50), at 5. The Court does not need to
resolve this issue because the claims in Counts IV and V cover any third party acting on
behalf of Dish, not just the five listed dealers.

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produce by making documents available for inspection and copying. Fed.

R. Civ. P. 34(a)(1). If Dish only keeps these documents in paper form, then

it may make the documents available in paper form for inspection and

copying as stated in the response. If, however, Dish also keeps these

documents in electronic form, then it must make the documents available in

electronic form to the Plaintiffs in the manner set forth in the parties’

Electronic Stored Information Agreement (ESI Agreement). Fed. R. Civ. P.

34(b)(2)(E); see Motion, Exhibit 24, ESI Agreement. Dish claims that it has

made documents available in electronic format now. If so, then this issue

is moot. Dish, however, must also provide the additional documents that

relate to all authorized dealers and documents that go back to the relevant

date in 2003.

5.    Obligation to Compile Information

      Dish objected to the Interrogatories and RFP to the extent that called

for the generation, compilation, or creation of documents that are not

already in existence or that are not maintained by Dish in the ordinary

course of business. The objection is overruled with respect to Dish’s

obligation to answer the Interrogatories. Interrogatories ask questions.

The recipient of the interrogatory must prepare a written answer. That

necessarily requires creating a document. The recipient of an interrogatory

must provide information that is available to it. Fed. R. Civ. P. 33(b)(1)(B).

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If the Interrogatory asks for information that Dish does not have available to

it, Dish may so answer; but it must answer. The process of answering may

require compiling available information.

      The objection is sustained with respect to the RFP. The recipient of

the RFP must produce or make documents in its possession available for

inspection in copying. Fed. R. Civ. P. 34(a). Rule 34 does not require a

recipient to compile data or generate new documents. See Fed. R. Civ. P.

34(b)(2).

      The Plaintiffs further complain that Dish responded to Interrogatories

13, 14, 15, 18, and 19 by stating that it would produce documents. Dish

may do so only if the burden of deriving or ascertaining the answer from

the documents will be substantially the same for either party. If so, Dish

must specify the record in sufficient detail to enable the Plaintiffs to derive

the answer and must make the records available. Fed. R. Civ. P. 33(d).

Dish is therefore ordered to answer Interrogatories 13, 14, 15, 18, and 19

or, if Rule 33(d) applies, then Dish’s response must meet the requirements

of Rule 33(d)(1) and (d)(2).

6.    Applicable State Laws

      The Plaintiffs asked for information and documents about any

violations of state laws that restrict or prohibit telephone solicitations

including automatic dialing and announcing devices. Dish objected to

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providing information and documents about violations of state statutes

other than the statutes of the four Plaintiff States. The Court has carefully

considered Dish’s objections and overrules them. Dish argues that the

other states are not relevant. The Court disagrees. Acts that violate other

State telephone solicitation statutes, in many cases, may also violate the

TSR and the TCPA. Thus, information about violations of other State

statutes besides the statutes in the Plaintiff States is reasonably calculated

to lead to evidence of violations of the TSR and the TCPA.

      In addition, evidence regarding other state enforcement actions

would also be relevant to issues of knowledge. Enforcement actions by

other States may have put Dish on notice that one or more dealer or

telemarketer was violating the TSR or TCPA. This could be relevant to

show that subsequent violations of the TCPA on behalf of Dish by that

particular dealer or telemarketer were willful. Dish’s objection is overruled

and it must provide responses to the requests.

7.    Confidential Information

      Dish included a general objection to providing confidential

information. Dish, however, has disclosed that no information has been

withheld as confidential. Defendant Dish Network L.L.C.’s Memorandum of

Law in Opposition to Plaintiffs’ Motion to Compel Production of Documents

and Answers to Interrogatories (d/e 48), at 19. This objection is moot.

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8.    Documents Related to Persons and Entities Other Than Dish and
      Dish Employees

      Dish objected to producing documents and answering Interrogatories

regarding entities or individuals other than Dish and Dish employees, two

telemarketers, and the five retailers listed in paragraph 37 of the Complaint.

The objection is overruled. Dish is directed to answer Interrogatories and

produce responsive documents for all dealers and telemarketers for the

reasons discussed above.

9.    Interrogatories 1-3

      Interrogatories 1-3 state:

      1.    Identify each person who, during the covered period, has
            had any involvement with monitoring or enforcing
            compliance, by you, any authorized dealer (including
            Order/Entry entities), or any telemarketer or any other
            entity selling Dish Network services, of telemarketing laws
            or your telemarketing policies or procedures.

      2.    Identify each person who, during the covered period, has
            reviewed, addressed, investigated, pursued, or
            responded to complaints relating to telemarketing by you,
            authorized dealers (including Order/Entry entities), or any
            telemarketer or any other entity selling Dish Network
            services.

      3.    Identify each person who receives, responds to, has
            received, or has responded to complaints relating to calls
            to telephone numbers on a state or the National Do Not
            Call Registry, pre-recorded calls, abandoned calls, the
            use of obscene or profane language in telemarketing
            calls, or instances where an individual stated that he or
            she did not want to be contacted.



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Interrogatories, Nos. 1, 2, and 3. Dish objected to these Interrogatories as

overly broad and unduly burdensome because they ask for each and every

person with any involvement. After objecting, Dish answered each of the

three Interrogatories by listing eight executives and four in-house attorneys.

Motion, Exhibit 6, Responses of Defendant Dish Network L.L.C. to

Plaintiffs’ First Set of Interrogatories, at 8-12. The Plaintiffs responded that

Dish should make a reasonable interpretation of the requests,

      Dish fails to recognize that there is a middle ground between
      interpreting Plaintiffs’ interrogatories to require naming every
      mail clerk who may have opened an envelope with a
      telemarketing complaint, and naming the same twelve
      people–eight (current) high-level managers and four (current)
      members of its in-house counsel department–in response to
      three different interrogatories. . . . Dish is required to provide a
      reasonably complete list, along with contact information, of
      persons with the responsibilities about which Plaintiffs inquired.

Reply in Support of Plaintiffs’ First Motion to Compel Production of

Documents and Answers to Interrogatories (d/e 50), at 11-12. Dish should

not be required to interpret the middle ground in the request. The Plaintiffs

should more carefully define the “persons with responsibilities” in their

requests. The objection is, therefore, sustained; however, the Plaintiffs are

authorized to revise and re-serve Interrogatories 1, 2, and 3 to clarify the

requests.




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10.   Interrogatory 4

      Interrogatory 4 states:

      4.    Identify each authorized dealer not specifically contracted
            to provide telemarketing of Dish Network services that
            has received or been paid compensation,
            reimbursements, incentives, commissions, fees, or any
            other payment in relation to generating a new subscriber
            at any time over the time period covered by these
            Interrogatories, including the dates and amount of such
            payments. By “each dealer not specifically contracted to
            provide telemarketing,” this Request means dealers
            whose contracts, at any relevant time, either specifically
            prohibited telemarketing, or were silent on whether the
            dealer was permitted to telemarket Dish Network
            services.

Interrogatories, No. 4. Dish objected to the Interrogatory. The Court has

carefully considered Dish’s objections and overrules them. Dish objected,

in part, because the Interrogatory asked for information about dealers other

than the five dealers listed in paragraph 37 of the Complaint. As explained

above, the identity of the dealers that act on behalf of Dish is relevant to

the claims in Counts IV and V. Dish is directed to answer the Interrogatory.

11.   Interrogatory 8

      Interrogatory 8 states:

      8.    For each authorized dealer (including Order/Entry
            entities), telemarketer, and any other entity selling Dish
            Network services, that you have investigated, disciplined,
            terminated, or taken legal action against, at any time over
            the time period covered by these Interrogatories, for
            reasons wholly other than violations or suspected
            violations of telemarketing laws: Identify the entity and

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            state in detail all acts and omissions that led to—and all
            other explanations and reasons for—the investigation,
            discipline, termination, or legal action.

Interrogatories, No. 8. Dish objected to the Interrogatory. The Court has

carefully considered Dish’s objections and overruled them. Dish objected,

in part, on relevance grounds. The Plaintiffs argue that information about

Dish’s response to other complaints is relevant to see if Dish treated

complaints about the alleged telemarketing violations differently than other

complaints. The Court agrees that there is some marginal relevance to the

treatment of other complaints. If Dish responded vigorously to other

complaints, but ignored telemarketing complaints, such evidence might

tend to prove willfulness for the TCPA claims. Dish is directed to answer

the Interrogatory.

12.   RFP 6, 19, 20, and 25

      The Plaintiffs ask this Court to compel Dish to respond to RFP 6, 19,

20, and 25. Dish objected to these requests to produce and did not

indicate that it would produce any responsive documents.

      RFP 6 states:

      6.    All complaints you received from any source relating to
            obscene or profane language used in any telemarketing
            context, including obscene or profane language used in
            response to any Do Not Call request or complaint.




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RFP, No. 6. Dish objected to this request. The Court has carefully

reviewed Dish’s objections and overrules them. The treatment of

complaints other than violations of the TSR, TCPA, and relevant Plaintiff

State statutes are marginally relevant to the issue of intent. The time

period is limited to complaints submitted after October 1, 2003. The

Plaintiffs’ other requests for complaint documents (RFP 3-5, 6, 7) may

include most of the documents sought here, but some documents may be

responsive to this request alone. Dish is directed to produce the requested

documents.

     RFP 19 states:

     19.   All documents relating to cooperation, collaboration, or
           any other interactions with law enforcement officials at
           any level of government, to identify, investigate, pursue,
           respond to, or address violations or suspected or alleged
           violations of telemarketing laws by you, your authorized
           dealers (including Order/Entry entities), or any
           telemarketer or any other entity selling Dish Network
           services.

RFP, No. 19. Dish objected to this request. The Court has carefully

reviewed Dish’s objections and overrules them, except with respect to

claims of privilege. Dish’s involvement with law enforcement regarding

violations of telemarketing laws is relevant to the issue of knowledge and

intent. The time period is limited to the period after October 1, 2003. Dish

is directed to produce the requested documents, except for those for which



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Dish asserts a claim of privilege. With respect to the documents for which

Dish asserts a privilege, Dish is directed to provide the Plaintiffs with a

privilege log that identifies each document (including the author, the date

the document was written, and the recipient of the document) and the

privilege asserted with respect to the document.

      RFP 20 states:

      20.   All documents relating to cooperation, collaboration, or
            any other interactions with any consumer protection or
            consumer complaint entity (such as, but not limited to, the
            Better Business Bureau and Internet sites that let
            consumers post complaints about companies), to identify,
            investigate, pursue, respond to, or address violations or
            suspected or alleged violations of telemarketing laws by
            you, your authorized dealers (including Order/Entry
            entities), or any telemarketer or other entity selling Dish
            Network services.

RFP, No. 20. Dish objected to this request. The Court has carefully

reviewed Dish’s objections and overrules them, except with respect to

claims of privilege. Dish’s involvement with consumer complaint entity

regarding violations of telemarketing laws is relevant to the issue of

knowledge and intent. The time period is limited to the period after October

1, 2003. Dish is directed to produce the requested documents, except for

those for which Dish asserts a claim of privilege. With respect to the

documents for which Dish asserts a privilege, Dish is directed to provide

the Plaintiffs with a privilege log that identifies each document (including



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the author, the date the document was written, and the recipient of the

document) and the privilege asserted with respect to the document.

      RFP 25 states:

      25.   All documents relating to the actual, possible, or
            hypothetical costs of obtaining or maintaining compliance
            or increased compliance with any telemarketing law.

RFP, No. 25. Dish objected to this request. Dish also stated, “that it does

not separately track the cost of ‘obtaining or maintaining compliance or

increased compliance with any telemarketing law.’” Motion, Exhibit 7,

Responses to Defendant Dish Network L.L.C. to Plaintiffs’ Second Request

for Production of Documents, at 32. The Court has carefully considered

Dish’s objections and overrules them to the extent that Dish is directed to

produce documents that address or discuss the actual, possible or

hypothetical costs of obtaining or maintaining compliance or increased

compliance with any telemarketing law. The objection to the request for all

documents relating to actual costs is sustained as overly broad because it

could require production of virtually all cost data, at least all cost data

related to marketing. The Court sees no relevance to such cost data. The

cost of compliance in not an element of any claim and is not asserted as an

affirmative defense to any claim. See Complaint; Answer to First Amended

Complaint (d/e 26).




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      Proof that Dish personnel discussed the cost of compliance,

however, could be relevant to the issue of knowledge. Dish, therefore, is

directed to produce documents in its possession that address or discuss

the actual, possible or hypothetical costs of obtaining or maintaining

compliance or increased compliance with any telemarketing law.

13.   RFP 1

      The Plaintiffs request the following documents:

      1.    For each electronic call log produced in response to the
            FTC’s 2005 CID (including call logs produced in 2007),
            and in response to Plaintiffs’ First Request for Production
            of Documents (served March 12, 2010), documents
            sufficient to identify which call center placed each call.

RFP, No. 1. Dish objected that the phrase “sufficient to identify” is vague

and ambiguous and improperly called for Dish to compile data to identify

the call center. The Court agrees. Dish should not have to decide how

many documents is sufficient. The Plaintiffs, further, cannot use a request

to produce to ask Dish to identify which call center placed each call. That

request is an interrogatory, not a request to produce. Dish’s objection,

therefore, is sustained; however, the Plaintiffs are given leave to revise and

re-serve this request to Dish.

      Dish also objects on the grounds of relevance. The relevance

objection is overruled. Identifying the source of an illegal call is reasonably

calculated to lead to witnesses who would have personal knowledge of the

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illegal activity. If the Plaintiffs serve a revised request for such information,

Dish is directed to produce responsive documents.

14.    Responses that produced only a subset of requested information

       The Plaintiffs state that:

       Dish responded to many of Plaintiffs’ document requests by
       asserting objections and then saying that Dish would produce
       (or provide hard-copy access to) a reworded and narrower
       version of Plaintiffs’ document request that covers fewer
       documents.

Motion, at 22. The Plaintiffs cite Dish’s responses to RFPs 2 and 12 as

examples.

       The Court does not see any redefinition in these responses. Rather,

Dish asserted its consistent objections to requests for documents about

events before the applicable limitation periods and about dealers and

telemarketers other than the five named in paragraph 37 of the Complaint.

The Court has overruled those objections. Thus, the Court has already

directed Dish to provide complete responses.

15.    Definitions

       Dish objected to certain definitions used by the Plaintiffs. Plaintiffs

ask the Court to overrule the objections. The Court agrees that a party

may define its terms in its own discovery requests.3 The terms, as defined,


       3
        For example, the Plaintiffs included five different definitions of the word “identify”
that define the word to include up to ten different pieces of information, depending on
the person, place, thing, or event identified. Interrogatories, Definitions ¶¶ J., K., L., M.,

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may also lead to objections to the actual discovery requests. A party,

however, should be able to define its own terms in its own documents. The

objections to the definitions are overruled.

      THEREFORE, Plaintiffs’ First Motion to Compel Production of

Documents and Answers to Interrogatories (d/e 47) is ALLOWED in part

and DENIED in part. Dish is directed to supplement its responses as set

forth in this Opinion by January 15, 2011. To the extent that the Court

gave the Plaintiffs leave to revise an Interrogatory or RFP, the Plaintiffs are

directed to serve the revised discovery request by January 15, 2011.

Under Rule 37(a)(5)(C), when a Rule 37 Motion is allowed, in part, and

denied, in part, the Court may, after affording opportunity to be heard,

apportion the reasonable expenses incurred in relation to the motion.

Given the circumstances of the instant case and the disposition of the

pending Motion, the Court deems it appropriate for each party to bear its or

their own expenses.

ENTER: December 8, 2010

                    ______s/ Byron G. Cudmore_______
                          BYRON G. CUDMORE
                   UNITED STATES MAGISTRATE JUDGE




and N. Dish could arguably count each piece of information in each applicable definition
as a subpart of any Interrogatory that used the word “identify”, and object to answering
any Interrogatory after Dish answered the maximum number of Interrogatories,
including subparts, allowed in the case.

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